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Michael Wood
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Summary
My passion is problem solving through programming. Pursuit of this passion has led to ground-breaking soware
development in cryptography, automatic root-cause identification of network issues in world-wide data communication
infrastructures, real-time monitoring of the human autonomic nervous system, PTSD rehabilitation, and cybersecurity.
The uniqueness of the problem solving is shown in the 10 patents that I have been granted. These projects required a
combination of assembler, C, PHP, JAVA, React, Node.js, Javascript, HTML and CSS along with Linux networking and
kernel development, Android programming, and REST consumption and development as well.

I've been writing fast, eﬀicient, optimized code to solve a wide variety of problems for over 30 years. Problem solving
through programming is a passion I continue to pursue every single day.

Experience
     Chief Executive Oﬀicer
     TocMail Inc.
     Oct 2019 - Present (1 year +)
     Founded TocMail Inc., and developed the TocChat and TocMail apps.

     TocChat is an Android messaging app that integrates patented anti-phishing on shared links and unique
     privacy modes as well. It was written in Java using Google Firebase for authentication, Google's Firestore
     realtime database, and SendBird's messaging infrastructure.

     TocMail's backend involves a combination of Linux C networking services (including custom IMAP/SMTP
     services) as well as PHP/MySQL with new services being written in JAVA/MySQL. The front-end is written in
     JavaScript, HTML, and CSS.


     Soware Engineer
     Freelance
     Feb 2014 - Oct 2019 (5 years 9 months)
     Developed eight patented cybersecurity methodologies and implemented them in Linux C, Node.js, Java, PHP/
     MySQL, React, Javascript, HTML, and CSS.


     Soware Engineer
     Freelance
     Mar 2007 - Jan 2014 (6 years 11 months)
     Developed Android (Java) and iOS (Objective C) soware driven brain exercise to interrupt PTSD episodes
     and lessen their severity over time with continued practice (based on EMDR and Bessel van der Kolk's brain
     imaging studies).


     Senior Soware Engineer
     Helicor, Inc.
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   Jun 2004 - Feb 2007 (2 years 9 months)
   Helicor produced a medical biofeedback device that incorporated my patented methodology for monitoring
   real-time vagus nerve activity. I assisted with the assembler, direct to chip programming.

   This device was the winner of Frost & Sullivan’s 2006 Technology Innovation Award. It was the best-in-class
   medical biofeedback device, outperforming its competitors in multiple clinical studies. The technology was
   acquired by Respironics, Inc.


   Independent Medical Biofeedback Researcher
   Freelance
   Oct 2001 - May 2004 (2 years 8 months)
   Designed a patented methodology for detecting subtle changes in heart rythm to non invasively measure
   absolute autonomic system balance (between the parasympathetic and sympathetic branches).


   Senior Network Engineer
   Freelance
   Jan 2001 - Sep 2001 (9 months)
   Designed various solutions to a variety of TCP/IP networking issues. Primarily involved Linux network
   programming in C with some kernel development.


   Senior Vice President Soware Development
   Micromuse
   Jan 2000 - Dec 2000 (1 year)
   I managed the development team, and served as lead developer, to integrate Calvin Alexander Networking's
   root-cause analysis technology I invented into Micromuse's NetCool Suite. The integration was successfully
   completed in less than a year's time. The value of Micromuse's stock more than doubled during this time.


   Chief Executive Oﬀicer
   Calvin Alexander Networking
   Oct 1998 - Dec 1999 (1 year 3 months)
   Calvin Alexander Networking was established to develop and market the automated network management
   invention that I created while at Scudder Stevens and Clark. In addition to company management, I also
   served as the lead developer responsible for the Linux C network programming components. Calvin Alexander
   Networking was acquired by Micromuse Inc.


   Data Communications Consultant for Scudder Stevens and Clark
   Scudder Stevens & Clark
   Jun 1991 - Oct 1998 (7 years 5 months)
   Designed the entire network infrastructure for Scudder Stevens and Clark's Manhattan Oﬀice Building.
   Managed data communication operations.

   I invented and patented an automated method for discovering all the devices that exist in a world-wide
   network along with accurately deducing how they were physically cabled together (e.g. Switch A slot 4 has




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    a 100 Mb ethernet cable connecting to Switch B slot 2 port 3). The invention was expanded to automatically
    pinpoint the root cause of network congestion or failure.


    Chief Executive Oﬀicer
    Cryptech Inc.
    Feb 1990 - Jun 1991 (1 year 5 months)
    Cryptech developed products based on the REDOC-II encryption system I developed while attending college.
    The cryptographers who broke the US encryption standard (DES) published a paper attesting that my
    encryption could not be broken by their methods. This cryptography remains unbroken, and is studied in the
    textbook Advanced Cryptography by Bruce Schneir. The encryption patent and technology was acquired by
    Libera Inc.


Education
    Jamestown Community College
    Mathematics

Skills
 C (Programming Language) • Linux • JavaScript • PHP • HTML • Cryptography • Java • MySQL • Assembler
 • Cascading Style Sheets (CSS)

Honors & Awards
    Patent #US5003596: Method of cryptographically transforming electronic digital data
    from one form to another - US Patent Oﬀice
    Mar 1991


    Patent #US7691049: Method and apparatus for determining accurate topology features of
    a network - US Patent Oﬀice
    Aug 2000


    Patent #US7691049: Methods and Devices for Relieving Stress - US Patent Oﬀice
    Apr 2010


    Patent #US9467324: Firewall security for computers with internet access and method - US
    Patent Oﬀice
    Oct 2016


    Patent #US9742734: Firewall security for computers with internet access and method - US
    Patent Oﬀice
    Aug 2017


    Patent #US9882877: Transparent traﬀic control device and method for securing internet-
    connected devices - US Patent Oﬀice
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   Jan 2018


   Patent #US9992233: Enhanced firewall and method for securing internet communications
   - US Patent Oﬀice
   Jun 2018


   Patent #US10320746: Computer security system and method based on user-intended
   final destination - US Patent Oﬀice
   Jun 2019


   Patent #US10348682: Transparent traﬀic control device and method - US Patent Oﬀice
   Jul 2019


   Patent #US10574628: Computer security system and method based on user-intended
   final destination - US Patent Oﬀice
   Feb 2020




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